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                             U M TED STA TES DISTR ICT C O U RT
                             SO U TH ER N DISTR ICT O F FLO R IDA
                                 Case N o:19-cr-20635-W ilIiam s

  U M TED STATE S OF AG R IC A ,



  JH ON JAIRO SILVA HERNANDEZ,

         D efendant.



                                      PLE A A GR EEM ENT

         TheUnitedStatesAtlorney'sOfficefortheSouthernDistdctofFlorida(<itllisOffice''land
  Jhon Jairo SilvaHernandez(hereinafterreferredto astheGr efendanf')enterintothefollöwing '
  agzeem ent:

         1.     The Defendant agrees to plead guilty to Cotmt 1 of the Indictment. Count 1

  chargesthe Defendantwith the distribution ofone kilogrnm ormore ofheroin knowing thatthe

  heroinwouldbeèznlawfully importedinto theUlzited States,inviolation ofTitle21,United States

  Code,Sections9594a)and 960(b)(1)(A). ThisOfficeagreesto dismisstheremaining Cotmtof
  theIndictm ent,asto thisDefendant,aftersentencing.

                The Defendant is aware that the sentence will be imposed by the Coul't after

  considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter

  çGsentencing Guidelines''). The Defendant acknowledges atld tmdirstands thatthe Courtwill
  compute an advisory sentencetmderthe Sentencing Guidelinesandthattheapplicableguidelines

  w illbe determ ined by the Courtrelying in pa14 on the resultsofapre-sentence investigation by the

  Cottrt'sprobation office,which investigationwillcomm enceaftertlleguiltypleahasbeen entered.
  The D efendant is also aw are that,tm der certain circllm stances,the Courtm ay departfrom the
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  advisory sentencing guidell erange thatithas computed,and m ay raise orlowerthatadvisory

  sentence underthe Sentencing Guidelines. The Defendr tisfurtherawareand tmderstandsthat

  the Courtisrequired to considerthe advisozy guidelinerange determined underthe Sentencing

  Guidelines,butisnotboundto imposeasentencewithin thatadvisory range;theCotlrtispermitted

  totailortheultimatesentencein lightofotherstattztory concerns,andsuch sentencem ay beeither

  m oresevereorlessseverethan the Sentencing Gtlidelines'advisory range. Knowing thesefacts,

  the Defendanttmderstands atld acknowledges thatthe Courthas the authority to im pose any

  sentencewithin and up to the statm oly maxinrlm authorized by 1aw fortheoffensesidentified in

  paragraph 1 and thatthe Defendantm ay notwithdraw the plea solely asa resultofthe sentence

  imposed.

         3.     The D efendant also understands and acknow ledges that, as to Colm t 1 of the

  lndictment, the Court must impose a mandatory minimllm sentence of ten (10) years'
  imprisonm ent,unlesstheDefendantissafetyvalveeligible,andm ay imposeastatutory maximum

  ofup to life im prisonm ent,follow ed by a term of supervised release of atleastlive years and up .

  to life. ln additionto aterm ofimprisonm entand supervised release,the Cotu'tmay also impose

  afine ofup to $10,000,000,and m ay orderforfeiture.
         4.     The D efendant further understands and acknowledges that,in addition to any

  sentence im posed'
                   xunder paragraph 3 of this agreement, a specialassessm entin the am ount of

  $100 willbe imposed on the Defendant. The Defendant agrees that any specialassessm ent
  im posed shallbe paid atthe tim è of sentencing. lfthe D efendantisfinancially unable to pay the

  specialassessm ent,the Defendantagreesto presentevidenceto thisOffice and the Courtatthe

  tim eofsentencing asto thereasonsfortheDefendant'sfailtlretopay.

         5.     ThisOfficeresetwestherightto inform theCourtandtheprobation office ofa11
  factspertinenttothesentencingprocess,includingallrelevantinformation concerningtheoffenses
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  com mitted,whether charged or not,as w ellas concerning the Defendant and the Defendant's

  background. Subjectonlytotheexpresstermsofanyagreed-upon sentencingrecommendations
  contained in thisagreem ent,this Oftk e furtherreservesthe rightto m ake any recom m endation as

  to the quality and quantity ofp lnishm ent.

                 A cknowledging thattheparties'recom m endations asto sentencing are notbinding

  on the probation oo ce orthe Court:

                    a. This Office agrees that it willrecommend at sentçncing thatthe Court

                        reduce by two levels the sentencing guideline level applicable to the

                        Defendant's offense, pursuant to Section 3E1.1(a) of the Sentencing
                        Guidelines?based upon the Defendant'srecognition and affirm ative and

                        tim ely acceptanceofpersonalresponsibility.

                    b. ThisOffice agreesthat,ifatthetim eofsentencing theDefendant'soffense

                        level is detennined to be 16 or greater, this O ffice w ill file a m otion

                        requestinganadditionaloneleveldecreasepursuantto Section3E1.1(b)of
                        the Sentencing Guidelines, stating that the Defendant has assisted

                        authorities in the invesiigation orprosecution ofthe Defendant's own '
                        m isconductby tim ely notifying authoritiesofthe Defendant'sintention to

                        entera plea ofguilty,thereby perm itting the governm entto avoid preparing

                        for tdal and permitting the government arld the Courtto allocate their

                        resouzces eflciently.

                    c. ThisOfficeandtheDefendantagreethatthey willrecom mendatsentencing

                        thatthe Defendantisresponsible atleastone ldlogrnm ofheroin butless

                        than3kilogrnmsofheroin,pursuanttoUSSG 2D1.1(c)(5).
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                   d. Thepartiesagree to recom m end thatthe Defendantdoesnotqualify fora

                       CGdangerousweapon''enhancementunderUSSG Section 2D1.1(b)(1),and
                       furtherthatthe Governm entcnnnotprovethatthe Defendantpossessed a

                       firenrm in thism atter.

                This Office and the Defendantagree that,although notbinding on the probation

  officeortiecourt,theywilljointlyrecommendthat,pursuantto Section5C1.2oftheSentencing
  Guidelines,the Courtimpose a sentence without regard to any statm ory m irlim llmksentence

  identified inparagraph 3 above,provided that:

                   a. the D efendantdoesnothave:

                           i. m ore'than four Crim inal History points, excluding any Crim inal

                              Historypointsresulting from al-pointoffense,ascalculatedunder

                              the Sentencing Guidelines;

                          ii. a prior offense earning three points as calculated under the

                              Sentencing Guidelines;or

                         iii. apriorviolentoffense(asdefinedin 18U.S.C.16)earning'
                                                                                 two
                              points as calculated llnderthe Sentencing Guidelines'
                                                                                  ,
                                                                                      (
                   b. '
                      the Defendant did not use violence or credible threats of.violence or

                       possessed a flrearm or other dangerous weapon (or induced another
                       participanttodoso)inconnectionwiththeoffense;
                       theoffensedidnotresultindeathorsedousbodily injurytoanyperson;
                       the D efendant was not ml organizer, leader,m anager, or supervisor of

                       others in the offense,as detennined tm der the Sentencing Guidelines and

                       w asnotengaged in a continuing crim inalenterprise;and

                       notlaterthan thetim e ofthe initialsentencing hearing,the Defendanthas
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                           truthfully providedto the Governmenta11information and evidencethat
                           theDefendanthasconcerningtheoffense oroffensesthatwerepartofthe

                           sam e course ofconductor ofa com m ön schem e orplan.

     This Oftice,however,willnot be required to make the recom p endations set out irlthis Plea
 '


     AgreementiftheDefendant:(1)failsorrefusestomakea111,accurateand coppletedisclostlre
                             h
                                                                                                   ,


     totheprobationofficeofthecircllmstancessurroundingtherelevantoffenseconduct;(2)isfotmd
     tohavemisrepresented factsto thegovernmentpriortoentering intothispleaàgreement;or(3)
     com mifs any m isconduct after entering into this plea agreement,including but not lim ited to

     com m itting a state orfederaloffense,violating any term ofrelease,orm aldng false statem ents or

     misrepresentationstq any governmentalentity orofficial..
                                                                      '
                                                                 .

            8.     '
                   FheDefendantisawarethatthesentencehasnotyetbeen detenninedby theCotu't.
                                  .                                                                     '


     The Defendantalso isawarethatany estim ate oftheprobable sentencing rangeorsentencethat
                                      :
                                                                                                       Nx
     $he D efendant m ay receive, w hether that estim ate com es from the D efendant's attorney,this

     Office,ortheprobationoffice,isaprediction,notapromise,àndisnotbindingonthisOz ce,the
     probation officeorthe Cout't. TheDefendanttmderstandsfurtherthaNtany recomm endation that

     thisUfficem akesto the Cotu'tasto sentencing,whetherpursuantto thisagreem entorotherwise,

     isnotbinding on the Courtand the Courtm ay disregardthrrecomm endation in itsentirety. The

     Defendanttmderstandsandacknowledges,aspreviousl/acknowledgedinparagraph2above,that
     the D efendant m ay not w ithdraw his plea based upon the Cotlrt's decision not to accept a

     sentencing recomm endation m ade by the Defendant,this Office,or a recommendation made

     jointlybytheDefendantandthisOffice.
            9.     TheDefendantagreesthatheshallcooperatefullywiththisOfficeby:(a)providing
     tnzthful and com plete infonnation and testim ony, and producing docllm ents,records and other

     evidence,when called uponby thisOffice,whetherin interviews,beforeagrandjury,oratany
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  trialorotherCourtproceeding;(b)appearingatsuch grandjuryproceedings,hearings,trials,and
  otherjudicialproceedings,andatmeetings,asmayberequiredbythisOffice;and(c)ifrequested
  '
  by thisOffice,working in an undercoverroletmderthesupelwision of,and in compliance with,

  1aw enforcementofficersband agents.In addition,theDefendantagreesthathewillnotprotectany

  pezson orentitythroughfalseinform ation oromission,thathewillnotfalsdyimplicateanyperson

  oreritity,and thathewillnotcomm itany furthercrim es.

            10.   ThisOfficereservestherightto evaluatethenature and extentofthe Defendant's

  cooperation and to malce thatcooperation,orlack thereoflknown to the Courtatthe time of
  sentencing.IfinthesoleandunreviewablejudgmentoftlzisOfficetheDefendant'scooperationis
  ofsuch quality and significanceto the investigaiion orprosecutiop ofothercrim inalinaqersasto

  warranttheCourt'sdownward departtlref'
                                       rom the advisory sentencing rangecalculated underthe

  Sentencing Guidelinepénd/orany applicableminimllm m andatorysentence,thisOfficem ay m ake

  amotion priortoseniencingplzrsuanttoSection 5K1.1oftheSentencing Guidelinesand/orTitle
      18,UnitedStatesCode,Syction 3553(e),orsubsequenttosenteùcingptlrsuéntto Rule35 ofthe
  Federal Rules of Crim inal Procedlzre,informing the Cotu'tthat the Defendant has provided

  substantialassistanceandrecomm endingthattheDefendant'ssentencebereduced.TheDefendant

  understandsand agrees,howevey,thatnothing in thisagreementrequirestVsOfficeto fileany
  such m otions,andthatthisOffice'sassessm entofthe quality and significanceoftheDefendant's

  cooperation shallbebinding asitrelatesto the appropdatenessofthisOftk e'sfiling ornon-filing

  ofa m otion to reduce sentence.

            11.   The Defendantunderstandsand acknowledgesthatthe Courtistm derno obligation

  to grantamotion forreduction ofsentencefiled by thisOffce.ln addition,theDefendantfurther

  tmderstands and acltnowledges thatthe Courtisunderno obligation ofany type to reduce the

  D efendant'ssentence because ofthe D efendant's cooperation.
                                               6
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    ç

                '
                    12.   The DefendantisawarethatTitle 18,United States Code,Section 3742 and Title

          28,United States Code,Section 1291,afford the Defendant the rightto appealthe sentence

          imposedinthiscase. Acknowledjingthis,in exchangeforthetmdertnkingsmadebytheUnited
          Statesin thispleaagreem ent,théDefendanthereby waivesal1rightsconferred by Sections3742

.         and 1291to appealany sentence im posed,including any restitution order,orto appealthem nnner

          in w llich the sentence w asim posed,unlessthe sentence exceedsthe m axim tlm perm itted by statm e

          or isthe resultof an upward departure and/or an upward varimwe from the advisory guideline

          rangethattheCourtestablishesatsentencing. TheDefendantfurtherunderstandsthatnothing in

          this agreem entshallaffectthe governm ent's rightand/orduty to appealassetforth in Title 18,

          UnitedStatesCode,Section3742(1$,andTitle28,United StatesCode,Section 1291. However,
          iftheUnited StatesappealstheDefendant'ssentenceptlrsuanttoSections3742(b)and 1291,the
          Defendantshallbereleasedfrom theabovewaiverofappellaterights. By signingthisagreem ent,

          theDefendantacknowledgesthattheDefendanthas discussed the appealwaiversetfol'th in this

          agreementwith theDefendant'sattorney.

                    13.   The Defendant also agrees to assist tllis Offce in a11 proceedings, whether

          admirlistrative orjudicial,involving the forfeiture to the United Statesofal1rights,title,an.
                                                                                                      d
          interest,regardlessoftheirnature orform ,in al1assets,includingrealandpersonalproperty,cash

          and other m onetary instruments, wherever located, which the Defendant or others to the

          Defendant'sknowledge have accum ulated as aresultofillegalactivities. Such assistance will

          involvetheDefendant'sagreementtotheentryofan orderenjoiningthetransferorencumbrance
          ofassetsthatmay beidentified asbeing subjectto forfeiture,includingbutnotlimited to thoàe
          specific real and personal properties set forth in the forfeimre counts of the Indictm ent.

          Additionally,theDefendantagreestoidentifyasbeing subjecttoforfeitureallsuch assets,andto
          assistin the transfer of such property to the United States by delivery to this Office upon this
                                                          7
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  Office'srequest,a11necessary and appropdatedoclzm entationwithrespectto saidassets,including

  consentsto forfeiture,quitclaim deedsand any and allotherdocumentsnecessaryto delivergood

  atld m arketabletitleto saidproperty.

                 TheDefendantknowingly andvoluntadly agreestowaiveany claim ordefensethe

  Defendantm ay have underthe Eighth Amendm entto the United StatesConstitution,including

  any claim ofexcessivefineorpenalty with respecttotheforfeited assets.

         15.    D efendantrecognizes thatpleading guilty m ay have donsequences w ith respectto

  the Defendant's imm igration status ifthe Defendantis nota natural-born citizen of the United

  States. Underfederallaw,a broad range ofcrim esare rem ovable offenses. In addition,under

  certain circllm stances,denaturalization m ay also be a consequence of pleading guilty to a crim e.
                            '
  Rem oval, denattlralization,and othey immigJ
                                             ration consequencesare the subjectof a separate
  proceeding,however,and Defendanttmderstandsthatno one,including theDefendant'sattorney

  orthe Court,canpredictto acertainty the effectoftheDefendant'sconviction on theDefendant's

  im migration status. Defendant nevertheless affit'ms that the Defendant wants to plead guilty

  regardless of any imm igration consequences thatthe Defendant'splea m ay entail,even ifthe

  consequence isthe Defendant's denaturalization and autom atic rem ovalfrom the United States.




                                          flntentionallyBlank.l
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c'



                  16.    This is the entize agreem ent and understanding between this Office and the
     '
           D efendant. There are no otheragreem ents,prom ises,representations,orunderstandings.



                                                    JuM AN TON IO GON ZM EZ
                                                    U N ITED STATES A TTORN EY



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